Case 1:05-cr-10018-.]DT Document 13 Filed 05/06/05 Page 1 of 2 Page|D 16
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IN THE UNITED STATES DISTRICT COURT 0 \`W 05
FOR THE WESTERN DISTRICT OF TENNESSEE _ 2
EASTERN DIVISIoN 131-12 2 7

 

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IN THE MATTER oF: ) L“"“3!\“$0/\/`
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RAMSDALE o’DENEAL )
) NO. 05-10018-T
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oRDER To sHoW cAUsE

 

On May 6, 2005 , Mr. Ramsdale O’DeNeal Was scheduled to appear in this court at
9:00 a.m. for a report date in USA vs. Tirnothy Isaih Carnpbell, 05-10018. Mr. O’DeNeal
did not appear at the appointed time.

Therefore, Mr. Ramsdale O’DeNeal is ordered to show cause Within ten (lO) days

Why he should not be held in contempt

IT IS SO ORDERED.

JQZM\.M?>M

l§l(/IES D. TODD
UNITED STATES DISTRICT JUDGE

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Thls document entered on the docket sheet ln compliance DATE
with Rula 55 and/or 32(b) FHCrP on

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10018 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

